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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SCOTT LEVINE,                                    :
          Plaintiff,                             :            CIVIL ACTION
                                                 :            No. 14-4729
               v.                                :
                                                 :
TEMPLE UNIVERSITY,                               :
          Defendant.                             :


                                             ORDER


       AND NOW, this __20th_ day of __May____, 2015, it is ORDERED that Defendant

Temple University’s Motion to Dismiss Plaintiff Scott Levine’s First Amended Complaint (ECF

No. 18) is DENIED. This denial is without prejudice to Temple University’s right to raise the

same issues identified in its Motion to Dismiss at a subsequent stage in the litigation.



                                                      s/Anita B. Brody

                                              ____________________________________
                                              ANITA B. BRODY, J.




Copies VIA ECF on _________ to:                               Copies MAILED on _______ to:
